                                APPEAL TRANSMITTAL SHEET (non-death penalty)
 Transmittal to 4CCA of notice of          District:                                       District Case No.:
 appeal filed: 03/11/22
                                            Middle District of North Carolina               1:13CR435-1
 ___ First NOA in Case                     Division:                                       4CCA No(s). for any prior NOA:
 ✔ Subsequent NOA-same party
 ___                                       GREENSBORO                                       19-2338,19-7483, 19-7756, 20-6034
 ___ Subsequent NOA-new party             Caption:                                         4CCA Case Manager:
 ___ Subsequent NOA-cross appeal          USA
                                           v.
 ___ Paper ROA      ___ Paper Supp.       BRIAN DAVID HILL                                   Jeffrey Neal
  Vols: _______________________
 Other: _______________________
 Exceptional Circumstances: ___ Bail ___ Interlocutory ___ Recalcitrant Witness                 ___ Other __________________________
 Confinement-Criminal Case:                Fee Status:
 ___ Death row-use DP Transmittal          ___ No fee required (USA appeal)
 ___ Recalcitrant witness
                                           ___ Appeal fees paid in full
 ___ In custody
                                           Criminal Cases:
 ___ On bond
                                           ✔ District court granted & did not revoke CJA status (continues on appeal)
                                           ___
 ___ On probation
 Defendant Address-Criminal Case:          ___ District court granted CJA & later revoked status (must pay fee or apply to 4CCA)
 310 FOREST STREET                         ___ District court never granted CJA status (must pay fee or apply to 4CCA)
 APARTMENT 2
                                           Civil, Habeas & 2255 Cases:
 MARTINSVILLE, VA 24112
                                           ___ Court granted & did not revoke IFP status (continues on appeal)
                                           ___ Court granted IFP & later revoked status (must pay fee or apply to 4CCA)
 District Judge:                           ___ Court never granted IFP status (must pay fee or apply to District Court)

  THOMAS D. SCHROEDER                      PLRA Cases:
                                           ___ Proceeded PLRA in district court, no 3-strike determination (must apply to 4CCA)
 Court Reporter (list all):
                                           ___ Proceeded PLRA in district court, determined to be 3-striker (must apply to 4CCA)
 Jane Calhoun
 Joe Armstrong                             Sealed Status (check all that apply):
 Briana Bell                                ✔ Portions of record under seal
                                           ____
                                           ____ Entire record under seal
                                     ____ Party names under seal
 Coordinator:                        ____ Docket under seal
 Keah Marsh
 Record Status for Pro Se Appeals (check any applicable):      Record Status for Counseled Appeals (check any applicable):
 ___ Assembled electronic record transmitted                              ___ Assembled electronic record available if requested
 ___ Additional sealed record emailed to 4cca-filing                      ___ Additional sealed record available if requested
 ___ Paper record or supplement shipped to 4CCA                           ___ Paper record or supplement available if requested
 ___ No in-court hearings held                                            ___ No in-court hearings held
 ___ In-court hearings held – all transcript on file                      ___ In-court hearings held – all transcript on file
  ✔ In-court hearings held – all transcript not on file
 ___                                                                      ___ In-court hearings held – all transcript not on file
 ___ Other:                                                               ___ Other:



              /s/ Alexis Bowers
Deputy Clerk: ______________________       336-332-6000
                                     Phone:___________________                               03/11/22
                                                                                       Date:_________________

03/2011


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